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14
                                  UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION

17   NATIONAL TPS ALLIANCE, MARIELA                  Case No. 3:25-cv-01766-EMC
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
18   M.H., CECILIA DANIELA GONZÁLEZ                  DECLARATION OF AHILAN T.
     HERRERA, ALBA CECILIA PURICA                    ARULANANTHAM IN SUPPORT OF
19   HERNÁNDEZ, E.R., HENDRINA                       PLAINTIFFS’ ADMINISTRATIVE
     VIVAS CASTILLO, A.C.A., SHERIKA BLANC,          MOTION TO SHORTEN TIME TO
20   VILES DORSAINVIL, and G.S.,                     CONFER PURSUANT TO FED. R. CIV. P.
                                                     26(f)
21               Plaintiffs,

22          vs.

23   KRISTI NOEM, in her official capacity as
     Secretary of Homeland Security; UNITED
24   STATES DEPARTMENT OF HOMELAND
     SECURITY; and UNITED STATES OF
25   AMERICA,

26                 Defendants.

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         DECLARATION OF AHILAN T. ARULANANTHAM IN SUPPORT OF ADMINISTRATIVE MOTION TO
               SHORTEN TIME TO RULE 26(f) CONFERENCE– CASE NO. 3:25-CV-1766-EMC
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         DECLARATION OF AHILAN T. ARULANANTHAM IN SUPPORT OF ADMINISTRATIVE MOTION TO
               SHORTEN TIME TO RULE 26(f) CONFERENCE – CASE NO. 3:25-CV-1766-EMC
        Case 3:25-cv-01766-EMC            Document 80        Filed 03/20/25      Page 3 of 4



1           I, Ahilan T. Arulanantham, declare as follows:

2           1.      I am an attorney at law duly licensed and entitled to practice in the State of

3    California. I am a Professor from Practice and Faculty Co-Director at the Center for Immigration

4    Law and Policy (CILP) UCLA School of Law, counsel of record in this action for Plaintiffs. I have

5    personal knowledge of the facts set forth in this declaration and, if called as a witness, I could and

6    would testify competently thereto.

7           2.      I file this Declaration in support of the Plaintiffs’ Administrative Motion to Shorten

8    Time to Confer Pursuant to Fed. R. Civ. P. 26(f).

9           3.      Plaintiffs seek to meet and confer with Defendants and open discovery “as soon as
10   practicable,” under Rule 26(f). See Fed. R. Civ. P. 26(f)(1). The deadline for the parties to conduct

11   the Rule 26(f) conference is currently set to April 29, 2025, under the Court’s Order Setting Initial

12   Case Management Conference and ADR Deadlines (ECF 39).

13          4.      On February 28, 2025, I contacted Defendants’ counsel to schedule a Rule 26(f)

14   conference and to commence discovery as soon as practicable.

15          5.      Defendants’ counsel responded on March 3, 2025, and initially agreed to schedule the

16   Rule 26(f) conference for March 6, 2025.

17          6.      After some discussion between counsel regarding the topics to cover at the Rule 26(f)

18   conference, Defendants’ counsel on March 5, 2025 cancelled the Rule 26(f) conference, stating that

19   holding it at this stage would be “unwarranted and premature.”
20          7.      On March 6, 2025, I asked Defendants’ counsel to reconsider their position and to

21   conduct the Rule 26(f) conference as previously scheduled, citing relevant authority. Defendants’

22   counsel refused, stating that this case was exempt from holding the Rule 26(f) conference because it

23   is an action for review on an administrative record, and that production of an administrative record

24   and any other discovery was inappropriate before the Court ruled on their forthcoming motion to

25   dismiss, which would challenge the Court’s jurisdiction.

26          8.      Attached as Exhibit 1 is a true and correct copy of my correspondence with
27   Defendants’ counsel.

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          DECLARATION OF AHILAN T. ARULANANTHAM IN SUPPORT OF ADMINISTRATIVE MOTION TO
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 1          9.         There has been one previous time modification in this case. The Court previously

 2   granted Plaintiffs’ Motion to Shorten Time (ECF 51), and the modified briefing schedule is currently

 3   as follows:

 4                 •   Defendants filed their Response to Plaintiffs’ Motion to Postpone on March 3, 2025;

 5                 •   Plaintiffs filed their Reply to Defendant’s Response on March 7, 2025; and

 6                 •   Hearing on the Motion to Postpone is scheduled for 9:00 AM PST on March 24,

 7                     2025.

 8          10.        If granted, the requested relief or alternative relief will have no effect on the overall

 9   case schedule. The Court has scheduled the Hearing for the Motion to Postpone Effective Agency
10   Action for March 24, 2025, and the initial case management conference for May 20, 2025 (ECF 39).

11   Plaintiffs filed an Amended Complaint on March 20, 2025. No other schedules have been set.

12          I declare under penalty of perjury under the laws of the United States of America that the

13   foregoing is true and correct.

14          Executed this 20th day of March 2025, in San Francisco, California.

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                                                       /s/ Ahilan T. Arulanantham
16                                                    Ahilan T. Arulanantham
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          DECLARATION OF AHILAN T. ARULANANTHAM IN SUPPORT OF ADMINISTRATIVE MOTION TO
                SHORTEN TIME TO RULE 26(f) CONFERENCE – CASE NO. 3:25-CV-1766-EMC
